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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

       Plaintiff,
                                              Case No. 11-20564
 v.
                                              Hon. John Corbett O’Meara
 D-1 CLARENCE WILLIAMSON,

      Defendant.
 ________________________________/



                              ORDER REGARDING
                              MOTIONS IN LIMINE

       Before the court are three motions in limine filed by Defendant: (1) to

 exclude the statement of co-defendant Terrell Clark; (2) to exclude government

 Exhibits 126 and 212; and (3) to limit the display of guns, drugs, and money

 exhibits.

       Defendant objects to the statement of Terrell Clark to the extent it implicates

 Defendant. See Bruton v. United States, 391 U.S. 123 (1968). The government

 has agreed, however, to redact references to Defendant from the written statement,

 including the last seven lines of the first page. See Exhibit 52A. Defendant also

 requests that the words “to you” be redacted from line 20 (after “who is”), because

 they could suggest to the jury that Clark is related to Defendant (he is Defendant’s
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 nephew). The court agrees that these words should be redacted. The court does

 not agree that line 23 should be redacted, as the content does not implicate

 Defendant. Accordingly, Defendant’s motion is granted in part and denied in part.



       Defendant seeks to exclude government Exhibits 126 and 212, which are

 statements regarding child support owed by Defendant. The government responds

 that it intends to use the exhibits to demonstrate that Defendant has used the name

 “Carlos.” The government agrees to redact references to Defendant being in

 arrears regarding child support. Given the willingness of the government to redact

 the exhibits, the court will deny Defendant’s motion without prejudice.

       Defendant requests that the court limit the display of guns, drugs, and money

 exhibits in the courtroom throughout the trial. The government does not oppose

 reasonable limitations on displaying exhibits. Accordingly, the court will deny

 Defendant’s motion without prejudice.

                                       ORDER

       IT IS HEREBY ORDERED that Defendant’s motion in limine to exclude

 the statement of Terrell Clark (Docket No. 451) is GRANTED IN PART and

 DENIED IN PART, consistent with this opinion and order.

       IT IS FURTHER ORDERED that Defendant’s remaining motions in limine


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 (Docket Nos. 452, 453) are DENIED WITHOUT PREJUDICE.



                                      s/John Corbett O’Meara
                                      United States District Judge
 Date: November 24, 2014




       I hereby certify that a copy of the foregoing document was served upon
 counsel of record on this date, November 24, 2014, using the ECF system.


                                      s/William Barkholz
                                      Case Manager




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